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Exhibit A
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TAXSAVERS

August 15, 2024 Proporty Tax Increase 2024

Your Addross:
Folla number; eano.sa8
2023 Assesamont: 5200,761
2024 Assoasment: $00,983
Assossment Incroaso:
MIAMI, FL 33161
Dear Property Owner.
, our properly a 4
According to the Miami-Dade Property Appraiser, the market value of x eS ichailea property

f Miami t year, we
ce ; _ Al Proparly Tax Savers 0 eal service. Last year,
ine he Fenn ba copay lax burdon weer ie Rican uense00:000 across single-family,
; as rate of 70% for prope sessment and lower yo
condom Sun eadog suse classes, Let us help reduce your property tax asse:
tax bil),

Why use us?
logy streamlines routine tasks, enabling our experts

1, Advanced Technology: Our advanced technol
fo dadicate moro time to each fax appeal and delya Into its unique detalls,
Local Exportlse: With 354 years of experience and over 250,000 appeals in South Florida, our

company ranks Among the top exporta in the market,
3. Competitive pricing: We offer exlremaly compatitive pricing at just 26% of the achieved savings.

‘Process:

1. Sign-up; Visit toxsave, .com/enrall to gi NUP online in minut i
service agreement Included with this latter, anu ene SOP and return the
2, We handle avorything:

In Saving on your taxes? Fil o
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88 It online, Be 8Ure to do so before the September ss Seon " “Com/enrol

orward to Working logathar,

J, Puyanic
Property Tax Savers of Mlami NX a

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August 15, 2024

Property Tax Increase 2024

Your Address

Folio number

2023 Assessment: $2,100,120

2024 Assessment, $3,132,420
Golden Beach, Florida USA 33160 Assessment Increase: $1,032,300

Dear Property Owner,

According to the Miami-Dade Property Appraiser, the market value of your property with folio number/address
increased from $2,100,120 to $3,132,420, At Property Tax Savers of Miami, we specialize In

helping property owners like you reduce thair property tax burden through our local properly tax appeal

service, Last year, we achieved an Industry-leading success rate of 70% with vacant land, and we believe

(here's a great opportunity to achieve similar succass with your property, Let us help reduce your property tax
assessment and lower your tax bill,

Why use us?

1, Advanced Technology: Our advanced technology streamlines rouline tasks, enabling our experts
to dedicate more time to each tax appeal and delve into ils unique details,

2. Local Exportise: With 35+ years of experience and over 250,000 appeals in South Florida, our
company ranks among the top experts in the market.

3. Competitive pricing: We offer extremely competitive pricing at just 30% of the achieved savings.

Our Process;

1. Sign-up: Visit laxsaversmiami.con/registration to sign up online in minutes or fill out and return the
service agreement included with this letter,

2. We handle everything: We represent you throughout the entire appeal process, including filing the
appeal, preparing your case, and handling negotiations with the value adjustment board,

3. No results-no pay: After we win your appeal, you will receive a refund or lowered tax bill directly
from the county. You only pay us 30% of savings if we achieve a reduction on your taxes.

Interested in saving on your taxes? Fill out the attached service agreement or visit
taxsaversmlami.com/registration to complete it online. Be sure to do so before the September 15 deadline.

Looking forward to working together,

Lawrence J, Puyanic
President, Property Tax Savers of Miami

a? ein XX! rT
ee peg es:
Scan to sign-up

717 Ponce de Leon Boulevard, Suite 330 Coral Gables, Florida 33134
305.740.0118 | www.taxsaversmiami.com
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TAXSAVERS

August 15, 2024

Property Tax Increase 2024

Your Address:
Folio number:
2023 Assessment: $3.312.000
2024 Assassment: $4,212,000
GOLDEN BEACH, FL 33160 Assossmont Increase: $900,000

Dear Property Owner,

According to the Miami-Dade Property Appraiser, the market value of your property at

increased from $3,312,000 to $4,212,000. At Property Tax Savers of Miami, we specialize in helping property
owners like you reduce their property tax burden through our local property tax appeal service, Last year, we
achieved an industry-leading success rate of 85% for properties valued at over $1 million across retail, multi-
family, and industrial asset classes. Let us help reduce your property tax assessment and lower your tax bill.

Why use us?

4. Advanced Technology: Our advanced technology streamlines routine tasks, enabling our experts
to dedicate more time to each tax appeal and delve into its unique details.

2. Local Expertise: With 35+ years of experience and over 250,000 appeals In South Florida, our
company ranks among the top experts in the market.

3. Competitive pricing: We offer extremely competitive pricing at just 30% of the achieved savings.

Our Process:

1. Sign-up: Visit taxsaversmiami.com/registration to sign up online in minutes or fill out and return the
service agreement included with this letter.

2. We handle everything: We represent you throughout the entire appeal process, Including filing the
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from the county. You only pay us 30% of savings if we achieve a reduction on your taxes.

Interested in saving on your taxes? Fill out the atlached service agreement or visit
taxsaversmiami.com/registration to complete it online. Be sure to do so before the September 15 deadline.

Looking forward to working together,

Lawrence J. Puyanic
President, Property Tax Savers of Miami

Sean to sign-up

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